       Case 24-20004-CMB                         Doc          Filed 01/15/25 Entered 01/15/25 15:15:29                                      Desc Main
                                                              Document      Page 1 of 8
 Fill in this information to identify the case:

 Debtor 1              Robert U. Handlow Jr.

 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the: Western District of Pennsylvania (Pittsburgh)
                                                                                         (State)
 Case number           24-20004




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                        12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security intere st in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File th is form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


   Name of creditor: Wells Fargo Bank N.A., as Trustee for Carrington Court claim no. (if known): 1
Mortgage Loan Trust Series 2006-NC3 Asset-Backed Pass-Through
Certificates
   Last 4 digits of any number you use to                                                   Date of payment change:
   identify the debtor's account:                           XXXXXX9199                      Must be at least 21 days after date       3/01/2025
                                                                                            of this notice

                                                                                            New total payment:                        $ 1,143.31
                                                                                            Principal, interest, and escrow, if any

Part 1:         Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?

            No
            Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                 the basis for the change. If a statement is not attached, explain why:


                       Current escrow payment:            $ 395.40                                        New escrow payment: $ 410.52



Part 2:        Mortgage Payment Adjustment

 2.     Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
        variable-rate account?

            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                 attached, explain why:


                       Current interest rate                                    %                         New interest rate:                       %

                       Current principal and interest payment: $                                          New principal and interest payment: $


Part 3:         Other Payment Change




Official Form 410S1                                                   Notice of Mortgage Payment Change                                                page 1
      Case 24-20004-CMB                 Doc        Filed 01/15/25 Entered 01/15/25 15:15:29                          Desc Main
                                                   Document      Page 2 of 8
 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?

         No
         Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
              (Court approval may be required before the payment change can take effect.)
              Reason for change:
              Current mortgage payment:        $                                      New mortgage payment: $




Official Form 410S1                                      Notice of Mortgage Payment Change                                          page 2
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                                                                  Document      Page 3 of 8
Debtor 1           Robert U. Handlow Jr.                                                 Case number (if known) 24-20004
                   First Name       Middle Name       Last Name




Part 4:         Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:

             I am the creditor.

             I am the creditor's attorney or authorized agent.


    I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
    knowledge, information, and reasonable belief:



     /s/ Randall Miller                                                                       Date January,15, 2025
    Signature



    Print:                Randall Miller__                                                   Title     Agent
                          First Name                  Middle Name     Last Name



    Company               Carrington Mortgage Services, LLC



    Address               43252 Woodward Avenue, Suite180______________________________
                          Number              Street

                          Bloomfield Hills, MI 48302______________________________________
                          City                                        State       ZIP Code



Contact phone             (248) 335-9200     Email       bankruptcy@rsmalaw.com




Official Form 410S1                                                   Notice of Mortgage Payment Change                            page 3
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                                                                                                                                   0054-02-b1-0086726-0001-0254898
                                                             Document      Page 4 of 8
                                                 1600 South Douglass Road                Your Escrow Statement
                                                 Suites 110 & 200-A
                                                 Anaheim, CA 92806                        Property Address: 415 SHINGISS STREET
                                                                                                 MCKEES ROCKS, PA 15136-0000
                                                                                                       Statement Date: 12/27/24
           Important information inside!                                                               Loan number:

                                                                                                                Questions?
           0086726    SP          0054       -C02-P00000-I
                                                                                                               1-800-561-4567
                                                                                                 www.CarringtonMortgage.com
                     ROBERT U HANDLOW JR
                     2403 SIDNEY STREET, SUITE 245
                     PITTSBURGH       PA 15203




           Thank you for being the best part of our Carrington family.
           You are receiving this statement because we have completed your escrow analysis review.

           Your escrow account is an account that we manage on your behalf to pay for your insurance
           and taxes. For more information and resources regarding escrow, login to your Carrington Account
           and select “Escrow Summary” under “Customer Request” on the left menu.




           YOUR NEW PAYMENT:                         EFFECTIVE 03/01/25
                                              CURRENT               NEW                            ANALYSIS SUMMARY
                                              PAYMENT            PAYMENT      CHANGE

           Principal & interest                 $774.54            $732.79     -$41.75              You have a surplus of:
           Escrow payment                       $395.40            $410.52      $15.12                  $23,739.39
           Total                              $1,169.94           $1,143.31   -$26.63

           The loan is not contractually current, the surplus funds listed may not be actual funds within the escrow
           account.

           Your escrow payment over the next 12 months:
           We estimate your total taxes and/or insurance payments to be $4,926.35 for the next 12 months. Here is
           how we calculated your new monthy escrow payment:
           Home insurance                                      $719.28          Total escrow                           $4,926.35
           County tax                                          $451.96          Divided by 12 months                          12
           School tax                                        $2,856.94
                                                                                New monthly escrow payment               $410.52
           City tax                                            $898.17
           Total escrow                                      $4,926.35



        Questions? 1-800-561-4567 • www.CarringtonMortgage.com                                                       Page 1 of 4
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                                                                                                                                   0054-02-b1-0086726-0001-0254898
                                                    Document      Page 5 of 8             Statement Date: 12/27/24
                                                                                                      Loan number:



            Any changes to your taxes and insurance are determined by your taxing authorities and insurance
            providers, not Carrington Mortgage Services, LLC.


        PROJECTED ESCROW ACTIVITY 03/25 – 02/26
                         PAYMENT TO           ESTIMATED                                    PROJECTED               REQUIRED
         DATE                                           DESCRIPTION
                            ESCROW        DISBURSEMENT                                ESCROW BALANCE         ESCROW BALANCE
                                                                 BEGINNING BALANCE:         $26,664.02              $2,924.63
         03/25               $410.52              $59.94   Home insurance                    $26,562.64              $2,823.25
                             ----------          $451.96   County tax                           ----------            ----------
         04/25               $410.52              $59.94   Home insurance                    $26,015.05              $2,275.66
                             ----------          $898.17   City tax                             ----------            ----------
         05/25               $410.52              $59.94   Home insurance                    $26,365.63             $2,626.24
         06/25               $410.52              $59.94   Home insurance                     $26,716.21            $2,976.82
         07/25               $410.52              $59.94   Home insurance                    $27,066.79             $3,327.40
         08/25               $410.52              $59.94   Home insurance                   $24,560.43                $821.04
                             ----------        $2,856.94   School tax                           ----------            ----------
         09/25               $410.52              $59.94   Home insurance                     $24,911.01              $1,171.62
         10/25               $410.52              $59.94   Home insurance                     $25,261.59             $1,522.20
         11/25               $410.52              $59.94   Home insurance                     $25,612.17             $1,872.78
         12/25               $410.52              $59.94   Home insurance                    $25,962.75              $2,223.36
         01/26               $410.52              $59.94   Home insurance                     $26,313.33            $2,573.94
         02/26               $410.52              $59.94   Home insurance                    $26,663.91              $2,924.52



             Lowest Projected             Lowest Projected Balance = the lowest projected point over your 12 month
              Balance (08/25)             analysis period. This number represents the running balance in your escrow
                                          account estimated by your monthly payments to escrow minus any tax and
                 $24,560.43               insurance disbursements made on your behalf.


                     –

             Minimum Amount                Minimum Amount Required = two months of escrow payments, excluding
                 Required                  mortgage insurance, to account for any tax and insurance increases. This
                                           amount is regulated by the Real Estate Settlement Procedures Act (RESPA),
                   $821.04                 your mortgage contract, or state law.


                     =

                 Escrow Surplus            Escrow Surplus Amount = the difference between your lowest projected
                    Amount                 balance and the minimum amount required determines if there is a shortage
                 $23,739.39                or surplus in your escrow account.




        Questions? 1-800-561-4567 • www.CarringtonMortgage.com                                                       Page 2 of 4
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                                                                                                                                            0054-02-b1-0086726-0002-0254899
                                                    Document      Page 6 of 8             Statement Date: 12/27/24
                                                                                                        Loan number:




ESCROW ACCOUNT HISTORY 02/24 – 01/25
        PAYMENTS TO ESCROW                                PAYMENTS FROM ESCROW                                  ESCROW BALANCE

Date      Projected          Actual     Projected   Description                Actual Description              Projected          Actual
                                                                                     BEGINNING BALANCE:         $2,468.11 -$ 59,098.18
02/24       $395.40 *          ------     $59.94    Home insurance             $59.94 Home insurance            $2,803.57   -$59,158.12
03/24       $395.40 *          ------     $59.94    Home insurance            $451.96 County tax                $2,687.07     -$59,670.02
                                          $451.96   County tax                 $59.94 Home insurance
04/24       $395.40 *          ------     $59.94    Home insurance            $898.17 City tax                   $2,124.36    -$60,628.13
                                          $898.17   City tax                   $59.94 Home insurance
05/24       $395.40 *    $24,042.00       $59.94    Home insurance             $59.94 Home insurance            $2,459.82    -$36,646.07
06/24       $395.40 *          ------     $59.94    Home insurance             $59.94 Home insurance            $2,795.28     -$36,706.01
07/24       $395.40 *     $10,383.96      $59.94    Home insurance             $59.94 Home insurance             $3,130.74    -$26,381.99
08/24       $395.40 *          ------     $59.94 * Home insurance           $2,856.94 School tax                 $790.80      -$29,298.87
                                        $2,675.40   School tax                 $59.94 Home insurance
09/24       $395.40 *          ------     $59.94    Home insurance             $59.94 Home insurance             $1,126.26    -$29,358.81
10/24       $395.40 *     $7,787.97       $59.94    Home insurance             $59.94 Home insurance             $1,461.72    -$21,630.78
11/24       $395.40 *          ------     $59.94    Home insurance             $59.94 Home insurance             $1,797.18    -$21,690.72
12/24       $395.40            ------     $59.94    Home insurance             $59.94 Home insurance             $2,132.64    -$21,750.66
01/25       $395.40            ------     $59.94    Home insurance               ------                         $2,468.10     -$21,750.66
Total     $4,744.80      $42,213.93     $4,744.81                           $4,866.41

An asterisk (*) marks any difference from what was projected in either the amount or date.

Anticipated escrow disbursements up to escrow analysis effective date:
01/25                 $59.94 Home insurance


If the account is not current and has outstanding payments owed, any surplus funds in the escrow account will be held until the next
escrow review. If there are past due amounts, please contact us for options to bring the account current. We understand that
unforeseen circumstances can have significant impact to our lives, and we are here to help.


                            For more information and resources regarding escrow, login to your Carrington Account and select
                            “Escrow Summary” under “Customer Request” on the left menu.

                            You can also check out our www.CarringtonMortgage.com/learningcenter and search “Escrow” for
                            additional resources.

                            If you prefer to speak with someone, please contact our customer service team at 1-800-561-4567.




Questions? 1-800-561-4567 • www.CarringtonMortgage.com                                                                       Page 3 of 4
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ADDITIONAL INFORMATION                                                     SCRA DISCLOSURE-
                                                                           MILITARY PERSONNEL/SERVICEMEMBERS
VERBAL INQUIRIES & COMPLAINTS
                                                                           If you or your spouse is a member of the military, please contact
For verbal inquiries and complaints about your mortgage loan,
                                                                           us immediately. The federal Servicemembers Civil Relief Act and
please contact the CUSTOMER SERVICE DEPARTMENT for Carrington
                                                                           comparable state laws afford significant protections and benefits
Mortgage Services, LLC, by calling 1-800-561-4567. The CUSTOMER
SERVICE DEPARTMENT for Carrington Mortgage Services, LLC is toll           to eligible military service personnel, including protections from
free and you may call from 8:00 a.m. to 9:00 p.m. Eastern Time, Monday     foreclosure as well as interest rate relief. For additional information
through Friday. You may also visit our website at                          and to determine eligibility please contact our Military Assistance
www.CarringtonMortgage.com.                                                Team toll free at 1-888-267-5474.

                                                                           NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED
IMPORTANT BANKRUPTCY NOTICE
                                                                           WRITTEN REQUESTS (QWR)
If you have been discharged from personal liability on the mortgage
                                                                           Written complaints and inquiries classified as Notices of Error and
because of bankruptcy proceedings and have not reaffirmed
                                                                           Information Requests or QWRs must be submitted to Carrington
the mortgage, or if you are the subject of a pending bankruptcy            Mortgage Services, LLC by fax to 1-800-486-5134, or in writing to
proceeding, this letter is not an attempt to collect a debt from you but   Carrington Mortgage Services, LLC, and Attention: Customer Service,
merely provides informational notice regarding the status of the loan.     P.O. Box 5001, Westfield, IN 46074. Please include your loan number on
If you are represented by an attorney with respect to your mortgage,       all pages of the correspondence. You have the right to request
please forward this document to your attorney.                             documents we relied upon in reaching our determination. You may
                                                                           request such documents or receive further assistance by contacting
CREDIT REPORTING AND DIRECT DISPUTES
                                                                           the Customer Service Department for Carrington Mortgage Services,
We may report information about your account to credit bureaus.
                                                                           LLC toll free at 1-800-561-4567, Monday through Friday, 8:00 a.m. to 9:00
Late payments, missed payments, or other defaults on your account
                                                                           p.m. Eastern Time. You may also visit our website at
may be reflected in your credit report. As required by law, you are
                                                                           www.CarringtonMortgage.com.
hereby notified that a negative credit report reflecting on your credit
record may be submitted to a credit reporting agency if you fail
to fulfill the terms of your credit obligations. If you have concerns
regarding the accuracy of any information contained in a consumer
report pertaining to this account, you may send a direct dispute
to Carrington Mortgage Services, LLC by fax to 1-800-486-5134 or in
writing to Carrington Mortgage Services, LLC, and Attention:Customer
Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan
number on all pages of the correspondence.

MINI MIRANDA
This communication is from a debt collector and it is for the purpose
of collecting a debt and any information obtained will be used for
that purpose. This notice is required by the provisions of the Fair Debt
Collection Practices Act and does not imply that we are attempting to
collect money from anyone who has discharged the debt under the
bankruptcy laws of the United States.

HUD COUNSELOR INFORMATION
If you would like counseling or assistance, you may obtain a list
of HUD-approved homeownership counselors or counseling
organizations in your area by calling the HUD nationwide toll-free
telephone number at 1-800-569-4287 or toll-free TTY 1-800-877-8339,
or by going to http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You
can also contact the CFPB at 1-855-411-2372, or by going to www.
consumerfinance.gov/find-a-housing-counselor.

EQUAL CREDIT OPPORTUNITY ACT NOTICE
The Federal Equal Credit Opportunity Act prohibits creditors from
discriminating against credit applicants on the basis of race, color,
religion, national origin, sex, marital status, or age (provided the
applicant has the capacity to enter into a binding contract); because
all or part of the applicant’s income derives from any public assistance
program; or because the applicant has, in good faith, exercised any
right under the Consumer Credit Protection Act. The Federal Agency
that administers Carrington Mortgage Services, LLC’s compliance with
this law is the Federal Trade Commission. Equal Credit Opportunity.
Washington, DC 20580.




Questions? 1-800-561-4567 • www.CarringtonMortgage.com                                                                                     Page 4 of 4
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                       UNITED STATES BANKRUPTCY COURT
                WESTERN DISTRICT OF PENNSYLVANIA (PITTSBURGH)
                  _______________________________________________

In Re:                                                              Case No: 24-20004 - Chapter: 13
                                                                           Judge: Carlota M. Bohm
Robert U. Handlow Jr.

                      Debtor



                          CERTIFICATE OF SERVICE
______________________________________________________________________________

        The undersigned states that on January 15, 2025, copies of the Notice of Mortgage Payment
Change were served upon the following parties via first class mail, with proper postage affixed thereto
the Debtors and via the Court's CM-ECF electronic filing system to the Debtor's Attorney and Chapter 13
Trustee.

Robert U. Handlow Jr.              Debtor's Attorney                Chapter 13 Trustee
415 Shingiss Street                Rodney Shepherd                  Ronda J. Winnecour
Mc Kees Rocks, PA 15136            2403 Sidney St                   Suite 3250, USX Tower
                                   Suite 208                        600 Grant Street
                                   Pittsburgh, PA 15203             Pittsburgh, PA 15219


                                                                    U.S. TrusteeOffice of the United
                                                                    States Trustee
                                                                    1000 Liberty Ave.
                                                                    Suite 1316
                                                                    Pittsburgh, PA 15222



The above is true to the best of my information, knowledge and belief.

                                                     Signed: /s/ Randall Miller
                                                     Randall Miller
                                                     43252 Woodward Avenue, Suite 180
                                                     Bloomfield Hills, MI 48302
                                                     Telephone (248) 335-9200
